                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE

 DARRELL EDEN

 v.                                                         Case No.: 1:18−cv−00217−CHS

 BRADLEY COUNTY, TENNESSEE




                                            NOTICE OF HEARING

     This is to advise that a hearing on the motion identified in the corresponding docket entry will be held on
 Friday, June 11,2021 at 02:00 PM [EASTERN] before Magistrate Judge Christopher H. Steger in
 Chattanooga, Tennessee at the United States Courthouse and Federal Building, 900 Georgia Avenue,
 Courtroom 1B.

     The Court is not required to record non−evidentiary hearings. Counsel desiring the presence of a court
 reporter should make their own arrangements. If you intend to present evidence for the Court's consideration,
 please telephone the Magistrate Judge's chambers at least 24 hours in advance of the hearing so the Court can
 arrange for an official court reporter. Should it be impossible for counsel to participate in the hearing on the
 scheduled date and time, counsel should contact Magistrate Judge Steger's chambers at
 steger_chambers@tned.uscourts.gov.




                                                                      CHRISTOPHER H. STEGER
                                                                      U.S. MAGISTRATE JUDGE

                                                                      By: Katharine M Gardner




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